                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )      Criminal Action No.
v.                                                  )      21-03067-01-CR-S-BCW
                                                    )
DAVID PANBEHCHI,                                    )
                                                    )
                      Defendant.                    )

                            SCHEDULING AND TRIAL ORDER


I.     SCHEDULING CONFERENCE

       On June 15, 2021, the undersigned conducted a scheduling conference. Defendant, David

Panbehchi, appeared in person with his counsel, Ian Lewis, Assistant Federal Public Defender.

The Government was represented by Cameron Beaver, Special Assistant United States Attorney.

       A.     DISCOVERY

              1.      Counsel for the Government and Defendant agreed to voluntarily provide
                      Jencks Act material at least 14 days prior to trial.

              2.      This proceeding constitutes a specific request by the Government and
                      Defendant for all information covered by this proceeding. In addition,
                      during the conference, defense counsel requested all discovery to which
                      Defendant may be entitled pursuant to the Federal Rules of Criminal
                      Procedure, the Federal Rules of Evidence and the United States
                      Constitution. The Government requested reciprocal discovery to which it
                      is entitled pursuant to the Federal Rules of Criminal Procedure, the Federal
                      Rules of Evidence and the United States Constitution.

II.    DISCOVERY PROVIDED BY THE GOVERNMENT

       Within ten days from the date of this Order, the Government shall disclose or make

available for inspection, copying or photographing to defense counsel, the following

information within the possession, custody, or control of the Government, the existence of which




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is known, or by the exercise of due diligence may become known to the attorney for the

Government:

      A.      CONVICTIONS

              1.   A copy of Defendant’s prior criminal record, if any, which is within the
                   possession, custody, or control of the Government, the existence of which is
                   known, or by the exercise of due diligence may become known to counsel
                   for the Government.

              2.   A copy of Defendant’s prior felony convictions which the Government
                   intends to use for impeachment.

      B.      STATEMENTS

              1.   Any written or recorded statement, or copy thereof, made by Defendant
                   which is within the possession, custody, or control of the Government, the
                   existence of which is known, or by the exercise of due diligence may
                   become known to counsel for the Government.

              2.   The substance of any oral statement made by Defendant, whether before or
                   after arrest, to an attorney for the Government, a federal agent, or any other
                   law enforcement officer.

              3.   The recorded testimony of Defendant before a Grand Jury which relates to
                   the offense charged.

      C.      OTHER DISCOVERY

              1.   Any books, papers, documents, photographs, tangible objects, buildings or
                   places, or copies or portions thereof, which are within the possession,
                   custody or control of the Government and which are material to the
                   preparation of the defense or are intended for use by the Government as
                   evidence in chief at the trial, or were obtained from or belong to Defendant.

              2.   Any results or reports of physical or mental examinations, and of scientific
                   tests or experiments, or copies thereof, which are within the possession,
                   custody or control of the Government, the existence of which is known, or
                   by the exercise of due diligence may become known, to counsel for the
                   Government, and which are material to the preparation of the defense or are
                   intended for use by the Government as evidence in chief at the trial.




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D.   EVIDENCE ARGUABLY SUBJECT TO SUPPRESSION

     1.    Identify and provide a list of the physical or tangible evidence seized
           pursuant to a state or federal search warrant, consent of Defendant or of
           some other person or incident to the arrest of Defendant and as to each item
           described and identified provide the following:

           a.     The location from which the evidence was seized;
           b.     The date and time of the search and seizure;
           c.     The name and address of the person(s) making the seizure; and
           d.     The name and address of any witness(es) to the seizures.
           e.     In lieu of items (a)-(d), the Government can provide all reports
                  relating to any search and seizure within its possession, custody, and
                  control, the existence of which is known or by the exercise of due
                  diligence may become known to counsel for the Government.

     2.    Identify and list by date all electronic surveillance including any court
           ordered interceptions of oral or wire communications, consensual
           recordings of telephone conversations, body recorders, wiretaps, pen
           registers or trap and trace devices, video cameras, or bank surveillance
           cameras and provide the following:

           a.     All logs, notes, reports or other material relating to the electronic
                  surveillance;
           b.     Copies and transcripts, if transcribed, of any recorded
                  conversations; and
           c.     Copies of all videotape, including bank surveillance tapes.

     3.    Disclosure of any identification procedure of Defendant that has been used
           either by way of lineups or photographic or voice identification and for each
           such procedure provide the following information:

           a.     The name and address of each identification witness;
           b.     The method of identification;
           c.     The specific items used in the identification procedure, i.e.
                  photographs, tape recordings, etc.;
           d.     The date and location of the identification procedure;
           e.     The results of the identification procedure; and
           f.     Notes, memorandum, reports and records regarding the
                  identification procedure.
           g.     In lieu of items (a)-(f), the Government can provide all reports
                  relating to any identification procedure of Defendant within its
                  possession, custody, and control, the existence of which is known or
                  by the exercise of due diligence may become known to counsel for
                  the Government.

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III.   DISCOVERY PROVIDED BY DEFENDANT

       A.      DOCUMENTS / REPORTS/ TESTS

       Upon compliance with the Government’s discovery obligations under sections II.C.1. or

II.C.2. above, Defendant shall permit the Government to inspect, copy or photograph the

following categories of material:

               1.     Any books, papers, documents, photographs, tangible objects, or copies or
                      portions thereof, which are within the possession, custody, or control of
                      Defendant and which Defendant intends to introduce as evidence in chief at
                      the trial.

               2.     Any results or reports of physical or mental examinations and of scientific
                      tests or experiments made in connection with the particular case, or copies
                      thereof, within the possession or control of Defendant, which Defendant
                      intends to introduce as evidence in chief at the trial or which were prepared
                      by a witness whom Defendant intends to call at the trial when the results or
                      reports relate to that witness’s testimony.

       B.      ALIBI EVIDENCE

               1.     Within thirty days from the date of this Order, Defendant shall serve
                      upon the Government a written notice of Defendant’s intention to offer a
                      defense of alibi. Such notice shall state the specific place or places at
                      which Defendant claims to have been at the time of the alleged offense and
                      the names and addresses of the witnesses upon whom Defendant intends to
                      rely to establish such alibi.

               2.     Within twenty days thereafter, but in no event less than fourteen days
                      before trial, the Government shall serve upon Defendant a written notice
                      stating the names and addresses of the witnesses upon whom the
                      Government intends to rely to establish Defendant’s presence at the scene
                      of the alleged offense and any other witnesses to be relied on to rebut
                      testimony of any of Defendant’s alibi witnesses.

               3.     If, prior to or during trial, a party learns of an additional witness whose
                      identity, if known, should have been included in the information furnished
                      above, the party shall promptly notify the other party of the existence and
                      identity of such additional witness.




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IV.   EXPERT TESTIMONY

      A.   RULE 16(a)(1)(G) EXPERTS

           1.    No later than fourteen days prior to trial, the Government shall disclose
                 to Defendant a written summary of testimony that the Government intends
                 to use under Rules 702, 703 or 705 of the Federal Rules of Evidence during
                 its case-in-chief at trial. The written summary should identify the
                 witnesses, describe the witnesses’ opinions, the bases and the reasons for
                 the opinions, and the witnesses’ qualifications.

           2.    No later than ten days prior to trial, Defendant shall disclose to the
                 Government a written summary of testimony that the defendant intends to
                 use under Rules 702, 703 or 705 of the Federal Rules of Evidence as
                 evidence at trial. The written summary should identify the witnesses,
                 describe the witnesses’ opinions, the bases and the reasons for the opinions,
                 and the witnesses’ qualifications.

      B.   MENTAL HEALTH EXPERTS/EVIDENCE

           1.    Within thirty days of arraignment, the parties must file any motion
                 seeking to determine Defendant=s mental competency to stand trial pursuant
                 to 18 U.S.C. § 4241.

           2.    Within thirty days of arraignment, Defendant shall file a notice in
                 writing which complies with the requirements of Rule 12.2 of the Federal
                 Rules of Criminal Procedure stating:

                 a.     Whether Defendant intends to rely upon the defense of insanity at
                        the time of the alleged offense; and
                 b.     Whether Defendant intends to introduce expert testimony relating to
                        a mental disease or defect or any other mental condition of
                        Defendant bearing upon the issue of guilt.

           3.    If Defendant gives notice under Rule 12.2(b) of an intent to present expert
                 testimony on Defendant’s mental condition, no later than thirty days
                 prior to trial, Defendant shall identify the experts and provide a summary
                 of the witnesses’ opinions, the bases and reasons for those opinions and the
                 witnesses’ qualifications.

           4.    If Defendant complies with the requirements of sections IV.B.2. and
                 IV.B.3., no later than fourteen days prior to trial, the Government shall
                 disclose to Defendant a written summary of testimony the Government
                 intends to use under Rules 702, 703, or 705 as evidence at trial on the issue
                 of Defendant’s mental condition. The summary shall describe the

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                 witnesses’ opinions, the bases and the reasons for those opinions, and the
                 witnesses’ qualifications.

V.   EVIDENCE FAVORABLE TO THE DEFENSE

     A.   BRADY EXCULPATORY EVIDENCE

          Pursuant to the Due Process Protections Act, the Court confirms the Government’s
          obligation to produce all exculpatory evidence to Defendant pursuant to Brady v.
          Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so within ten
          days from the date of this Order. Failing to do so in a timely manner may result
          in consequences, including, but not limited to, exclusion of evidence, adverse jury
          instructions, dismissal of charges, contempt proceedings, or sanctions by the Court

     B.   GIGLIO IMPEACHMENT EVIDENCE

          No later than fourteen days prior to trial, the Government is directed to
          disclose all evidence which may tend to adversely affect the credibility of any
          person called as a witness by the Government pursuant to Giglio v. United States
          and United States v. Agurs, including the arrest and/or conviction record of each
          witness, any offers of immunity or lenience, whether made directly or indirectly, to
          any witness in exchange for testimony and the amount of money or other
          remuneration given to any witness.

     C.   ENTRAPMENT EVIDENCE

          Within ten days from the date of this Order, the Government is directed to
          provide discovery, inspection, and copying or photographing of any information
          suggesting entrapment of Defendant which is within the possession, custody or
          control of the Government or the existence of which is known or by the exercise of
          due diligence may become known to counsel for the Government.

     D.   WITNESS INDUCEMENTS

          No later than fourteen days prior to trial, the Government is directed to provide
          written disclosure of: (a) the names(s) and address(es) of the witness(es) to whom
          the Government has made a promise; (b) all promises or inducements made to any
          witness(es); (c) all agreements entered into with any witness(es); and (d) the
          amount of money or other remuneration given to any witness(es).

     E.   INFORMANTS

          Unless the Government has made a claim of privilege as to an informant, no later
          than fourteen days prior to trial, the Government is directed to provide: (a) the
          name(s) and address(es) of the informant(s); (b) all promises or inducements to the

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           informant(s); (c) all agreements entered into with the informant(s); (d) the amount
           of money or other remuneration given to the informant(s); (e) identification of the
           informant’s prior testimony; (f) evidence of psychiatric treatment; (g) evidence of
           the informant’s narcotic habit; and (h) the name, address and phone number for the
           lawyer(s) for the informant(s) if represented by counsel. If an informant objects to
           the disclosure of his or her address, the Government shall produce the informant to
           defense counsel for a determination of whether or not the informant will consent to
           an interview. If the informant refuses to appear, the Government shall provide a
           written statement to that effect signed by the informant or his counsel.

VI.   PRETRIAL FILINGS

      A.   PRETRIAL MOTIONS

           Within thirty days from the date of this Order, the parties shall file any relevant
           pretrial motions in accordance with Rule 12(c)(1). Any suggestions in opposition
           shall be filed on or before fourteen days thereafter. For defendants who are
           represented by counsel, the Court will only accept pretrial filings made by counsel.
           Pro se filings will not be accepted for defendants who are represented by counsel.

      B.   RELEVANT OFFENSE CONDUCT

           Within fourteen days of trial or a change of plea hearing, the Government is
           directed to disclose all information in its possession on which it will rely to
           establish Arelevant offense conduct@ or an upward departure under the Federal
           Sentencing Guidelines.

      C.   RULE 404(b) EVIDENCE

           No later than 14 days prior to trial, if the Government intends to offer evidence
           of other crimes, wrongs, or acts, pursuant to Rule 404(b) of the Federal Rules of
           Evidence, the Government is directed to provide written notice of the evidence,
           articulating the purpose for which the evidence is offered and the reasoning that
           supports such purpose.

      D.   WITNESS LISTS

           The Government is directed to supply in writing witness lists which shall include
           the name and address of each witness whom counsel intends to call in its
           case-in-chief, together with any record of prior felony convictions for such witness,
           no later than fourteen days prior to trial. Defendant is directed to supply in
           writing witness lists which shall include the name and address of each witness
           whom counsel intends to call in its case-in-chief, together with any record of prior
           felony convictions for such witness, no later than ten days prior to trial. If a
           new witness is discovered after counsel prepares its witness list, either prior to trial

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              or during trial, counsel shall promptly notify opposing counsel and provide the
              discovery identified above.

       E.     EXHIBIT LISTS

              The Government is directed to supply in writing exhibit lists which shall include a
              description of each exhibit that counsel intends to offer in its case-in-chief no later
              than fourteen days prior to trial. Defendant is directed to supply in writing
              exhibit lists which shall include a description of each exhibit that counsel intends to
              offer in its case-in-chief no later than ten days prior to trial. All exhibits must
              be numbered with Arabic Numerals with No Sub Parts. Specifically, exhibits
              must be numbered 1, 2, 3, 4, etc. No exhibits numbered 1A, 1B, 2A, 2B, etc.,
              will be permitted.

       F.     MOTIONS IN LIMINE

              No later than fourteen days prior to trial, the parties should file any motions in
              limine seeking to exclude evidence from trial. (Once the motion is filed, copies
              should be faxed to opposing counsel and the Court.) Any suggestions in
              opposition to the motions in limine should be filed within three days after the
              motion is filed.

       G.     STIPULATIONS

              Any proposed stipulations should be provided in writing to opposing counsel and
              the Court no later than fourteen days prior to trial.

VII.   WITNESS ADDRESSES

       In lieu of providing the address of any witness required by this Order, counsel for the

Government or Defendant may produce the witness for interview by opposing counsel.

VIII. TIME CALCULATIONS

       All time calculations are governed by the Federal Rules of Criminal Procedure.

       IT IS SO ORDERED.

                                                     /s/ David P. Rush
                                                     DAVID P. RUSH
                                                     UNITED STATES MAGISTRATE JUDGE

Date: June 15, 2021




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